112 F.3d 518
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Benjamin ZAMORA-DELGADO, Defendant-Appellant.
    No. 96-50438.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 21, 1997.*Decided April 28, 1997.
    
      Before:  BROWNING, THOMPSON and HAWKINS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Benjamin Zamora-Delgado appeals his conviction by conditional guilty plea and the sentence imposed for illegal reentry by a previously departed aggravated felon in violation of 8 U.S.C. § 1326, contending he was entitled to national discovery regarding prosecution of illegal reentry cases.  We affirm the district court because this contention is foreclosed by our recent opinion in United States v. Candia-Veleta, 104 F.3d 243 (9th Cir.1996).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    